
Opinion
CORRIGAN, J.
Code of Civil Procedure section 1021.5 authorizes an award of attorney fees to a “private attorney general,” that is, a party who secures a significant benefit for many people by enforcing an important right affecting the públic interest.1 In Adoption of Joshua S. (2008) 42 Cal.4th 945 [70 Cal.Rptr.3d 372, 174 P.3d 192] (Joshua S.), we decided that a section 1021.5 fee award may not be imposed on a litigant who did nothing to adversely affect the public interest, but simply lost an important appellate case in the course of pursuing his or her private rights. (Joshua S., at p. 958.)
In this case, plaintiffs objected to paying an extra fee for an expedited transcript of a deposition noticed by defendant. They won an appeal establishing that trial courts have the authority to determine the reasonableness of *1021fees charged by deposition reporters to nonnoticing parties. On remand, the trial court found that the fee charged to plaintiffs was unreasonable, but denied their motion for an award of attorney fees under section 1021.5. Relying on Joshua S., the court concluded that plaintiffs had acted in their own interest and only incidentally conferred a benefit on other litigants. The Court of Appeal, in a split decision, affirmed. We granted plaintiffs’ petition for review, in order to clarify the scope of our holding in Joshua S.
We conclude that Joshua S. has no application here. Deposition reporters are officers of the court, regulated by statute, who perform a public service of considerable importance to litigants and members of the public. The reporting service here did not merely seek to vindicate its private rights. It defended its institutional interest in controlling the fees it charges, and sought to shield itself from judicial review of its conduct as a ministerial officer of the court. Moreover, it was found to have charged plaintiffs an unreasonable fee. The courts below erred by concluding that the service did nothing adverse to the public interest, and that plaintiffs’ appeal did not involve an important right affecting the public interest.
BACKGROUND
In the underlying personal injury action, which eventually settled, defendant took the deposition of a plaintiffs’ expert and requested an expedited transcript. The reporting service, Coast Court Reporters, Inc. (Coast), asked plaintiffs’ counsel whether he too wanted an expedited transcript. He did, and Coast sent counsel a bill including a fee for expediting the copy.2 Counsel objected to the additional charge. Coast refused to expedite the transcript without payment of the fee. Counsel asked the trial court to require Coast to provide the transcript without the extra cost. Coast and plaintiffs’ counsel agreed that the court’s ruling would determine the validity and reasonableness of its fee, and would govern the fees for other expedited transcripts in the action. Coast delivered the transcript to plaintiffs, deferring payment until the court ruled.
The trial court found that Coast’s practice of charging the nonnoticing party a fee for expedited transcripts was “unconscionable.” However, the court believed it had no authority to determine how much a deposition reporter may charge for transcripts. It ordered plaintiffs to pay the full amount *1022charged by Coast, but invited them to seek appellate review. Plaintiffs did so, and prevailed. (Serrano v. Stefan Merli Plastering Co., Inc. (2008) 162 Cal.App.4th 1014, 1037 [76 Cal.Rptr.3d 559] (Stefan I).)
In Stefan I, the Court of Appeal observed that depositions must be conducted under the supervision of an officer qualified to administer an oath. (§ 2025.320.) While the officer and the stenographer who records the testimony need not be the same person, they usually are, and that practice was followed here.3 (Stefan I, supra, 162 Cal.App.4th at p. 1033.) The court further observed that deposition officers are ministerial officers of the court (Burns v. Superior Court (1903) 140 Cal. 1, 9 [73 P. 597]), who are subject to the court’s statutory and inherent authority over judicial proceedings (§ 128, subd. (a)(5); Walker v. Superior Court (1991) 53 Cal.3d 257, 266-267 [279 Cal.Rptr. 576, 807 P.2d 418]).4 (Stefan I, supra, 162 Cal.App.4th at p. 1035.)
Section 2025.510, subdivision (c) allows a nonnoticing party to obtain a copy of a deposition transcript at its own expense. Stefan I reasoned that the trial court “obviously should be able to enforce this statutory right by ordering the deposition reporter to provide a copy of the transcript ... on condition of the party’s payment of the ‘expense’ of the copy.” (Stefan I, supra, 162 Cal.App.4th at p. 1035, citing § 128.5, subd. (a)(5).) Coast argued that while the court could order a reporter to provide a copy of a transcript, it could not regulate the amount of the fee charged by the reporter. The Court of Appeal disagreed, pointing out that the nonnoticing party has no contractual relationship with the reporter, who is selected by the noticing party. Thus, the nonnoticing party is in no position to bargain for lower rates. Indeed the reporter may have an incentive to offer lower rates to the noticing party while shifting some of its costs of service to the nonnoticing party. (Stefan I, supra, 162 Cal.App.4th at pp. 1035-1036.)
“In light of the importance of deposition testimony in a pending action and the nonnoticing party’s lack of bargaining power, a trial court must be cautious not to lend assistance to overreaching by the deposition reporter. For a deposition reporter to refuse to provide a copy of a transcript to a nonnoticing party in a pending action unless the party agrees to pay an unreasonable fee would be grossly unfair.” (Stefan I, supra, 162 Cal.App.4th *1023at p. 1036.) Thus, “the only monetary condition that the court may properly place upon the nonnoticing party’s right to receive a copy of the deposition transcript would be payment of a reasonable fee.” (Ibid..) The court found support for this conclusion in section 2025.570, subdivision (a), which applies to nonparties, and specifies that the fee charged to “any person requesting a copy” of a deposition transcript must be “reasonable.”5 6It would be “anomalous indeed,” said the court, “for the Legislature to require a deposition officer to provide a copy of a deposition transcript to a nonparty for a reasonable fee while denying the same protection for a litigating party.” (Stefan I, at pp. 1036-1037.)
Stefan I distinguished and disagreed with Urban Pacific Equities Corp. v. Superior Court (1997) 59 Cal.App.4th 688 [69 Cal.Rptr.2d 635] (Urban Pacific), which had led the trial court to believe it had no authority to set Coast’s fee. The Urban Pacific court rejected a nonnoticing party’s argument that it was entitled to obtain a copy of a deposition transcript by serving a “business records subpoena.” (Urban Pacific, supra, 59 Cal.App.4th at p. 693.) By way of introduction, however, the court observed that “there is no statute regulating the fees charged by private reporting firms, and deposition reporters are free to charge all the market will bear.” (Id. at pp. 691-692.) The Stefan I court was not persuaded by this dictum. It noted that a nonnoticing party has no market interaction with the deposition reporter, and “absent timely judicial intervention, could be placed at the mercy of the reporter’s arbitrary pricing policy.” (Stefan I, supra, 162 Cal.App.4th at p. 1037, fn. 12.)
The Urban Pacific court had also commented that former section 2025.5, the predecessor of section 2025.570, offered no solution to the problem of excessive deposition charges. The court evidently read the statutory reference to “a reasonable charge set by the deposition officer” as granting the reporter free rein, even though it viewed the charges in the case before it as “obviously excessive.” (Urban Pacific, supra, 59 Cal.App.4th at p. 692; see fn. 5, ante.) It stated, “Unless [the reporter] concedes that its charges are not ‘reasonable,’ we do not see how this new statute[6] would affect the problem faced by [the appellant], particularly since the new statute appears to be for the benefit of nonparties, not parties.” (Urban Pacific, at p. 692, fn. 7.) The *1024Stefan I court took exception to this view. “A trial court’s failure to intervene to prevent such abuse of a nonnoticing party would amount to official toleration of such conduct. To the extent that Urban Pacific suggests that such a result is required by judicial impotency in such circumstances, we decline to follow it.” (Stefan I, supra, 162 Cal.App.4th at p. 1037, fn. 12.)
Stefan I concluded that the trial court in the pending action is in the best position to resolve deposition fee disputes, in a manner consistent with the procedures routinely followed to determine the costs recoverable by a prevailing party. (Stefan I, supra, 162 Cal.App.4th at pp. 1038-1039.) Because the trial court had failed to exercise its discretion as to whether Coast’s charges were reasonable in this case, the Court of Appeal remanded with directions to make that determination and order a refund of any amounts found to be excessive. (Id. at pp. 1039-1040.) On remand, the trial court ruled that “under the circumstances presented,” the entire charge for expediting the transcript was unreasonable. It ordered that amount refunded to plaintiffs, with interest.
Plaintiffs then filed a motion for attorney fees under section 1021.5. They asked for an award of up to $50,000, though counsel asserted that this would leave him with many hours of uncompensated time. Plaintiffs claimed they met all the statutory conditions for a fee award: They had successfully enforced an important right affecting the public interest, conferring a significant benefit on a large class of persons, and the necessity and financial burden of private enforcement made an award appropriate.7 Coast opposed the motion, contending that plaintiffs had sought not to enforce a public right but merely to avoid paying a fee for deposition transcripts. Coast disputed plaintiffs’ claim that they had vindicated an important public right, and relied on Joshua S., supra, 42 Cal.4th 945, for the proposition that a party who has done nothing to adversely affect the public interest other than being on the losing side of an appeal should not be subjected to a fee award under section 1021.5.
The trial court denied the fee motion, explaining: “ ‘[Sjection 1021.5 does not authorize an award of attorney fees against an individual who has done nothing to adversely affect the rights of the public or a substantial class of *1025people other than raise an issue in the course of private litigation that could establish legal precedent adverse to a portion of the public. . . .’ ([Joshua S., supra,] 42 Cal.4th 945, 949.) Here that is exactly what occurred. Moving party was not trying to vindicate the public’s interest. Rather, he was trying to protect his own interest and in so doing, by virtue of a published opinion, he conferred a benefit to litigants.”
The Court of Appeal affirmed over the dissent of Justice Croskey, the author of the Stefan I opinion. The majority held that plaintiffs had failed to satisfy the first element of section 1021.5, because their action did not result in the enforcement of an important right affecting the public interest. The majority deemed Joshua S. on point and controlling. In Joshua S., former domestic partners had litigated the validity of a “second parent” adoption and in so doing established the lawfulness of this form of adoption.8 (Joshua S., supra, 42 Cal.4th at p. 952.) Here, the Court of Appeal majority decided that Coast occupied a position similar to that of the birth mother in Joshua S., who sought to invalidate the adoption. It viewed the litigation in Stefan / as a “private business disagreement” between plaintiffs and Coast, which happened to involve an issue that was resolved in a published opinion.
The majority concluded that plaintiffs’ action did not qualify as public interest litigation. “Coast was not purporting to represent the public and its conduct addressed in our opinion had not been impairing the statutory or constitutional rights of the public or even a large or significant class of people.” It emphasized that Coast had “waived its fees and delivered all of the deposition transcripts to plaintiffs pending the trial court’s determination of the reasonableness of the expedited-service fee.” The majority viewed the Stefan I opinion as a reiteration of existing statutory law governing deposition fees, and a correction of “a garden-variety error by a trial court that had mistakenly believed it lacked the authority to limit court reporter fees.”
The dissenting opinion would have reversed and remanded for the trial court to consider all the elements required for an award of fees under section 1021.5. In the dissent’s view, Coast could not be compared to the losing parent in Joshua S. It had engaged in conduct against the public interest and violated its statutory duty as a deposition officer by refusing to deliver a transcript without payment of an unreasonable fee.
DISCUSSION
On appeal from an award of attorney fees under section 1021.5, “ ‘the normal standard of review is abuse of discretion. However, de novo review of *1026such a trial court order is warranted where the determination of whether the criteria for an award of attorney fees and costs in this context have been satisfied amounts to statutory construction and a question of law.’ ” (Connerly v. State Personnel Bd. (2006) 37 Cal.4th 1169, 1175 [39 Cal.Rptr.3d 788, 129 P.3d 1]; accord, Conservatorship of Whitley (2010) 50 Cal.4th 1206, 1213 [117 Cal.Rptr.3d 342, 241 P.3d 840].) Resolution of this case turns primarily on interpretations of section 1021.5 and the Joshua S. and Stefan I opinions, which present questions of law.
Section 1021.5 authorizes an award of fees when (1) the action “has resulted in the enforcement of an important right affecting the public interest,” (2) “a significant benefit, whether pecuniary or nonpecuniary, has been conferred on the general public or a large class of persons . . . ,” and (3) “the necessity and financial burden of private enforcement... are such as to make the award appropriate . . . .” (§ 1021.5; see Woodland Hills Residents Assn., Inc. v. City Council (1979) 23 Cal.3d 917, 935 [154 Cal.Rptr. 503, 593 P.2d 200] (Woodland Hills).) In Joshua S., we carved out a limited exception to these qualifications:  “[E]ven when an important right has been vindicated and a substantial public benefit conferred, and when a plaintiff’s litigation has transcended her personal interest,[9]. . . section 1021.5 was not intended to impose fees on an individual seeking a judgment that determines only his or her private rights, but who has done nothing to adversely affect the public interest other than being on the losing side of an important appellate case.” (Joshua S., supra, 42 Cal.4th at p. 958.)
We reasoned that the terms of the statute reflect an implicit understanding by the Legislature that fee awards are to be imposed only on parties whose conduct adversely affected the public interest. “Section 1021.5 authorizes fees for ‘any action which has resulted in the enforcement of an important right affecting the public interest . . . .’ (Italics added.) The enforcement of an important right affecting the public interest implies that those on whom attorney fees are imposed have acted, or failed to act, in such a way as to violate or compromise that right, thereby requiring its enforcement through litigation. It does not appear to encompass the award of attorney fees against an individual who has done nothing to curtail a public right other than raise an issue in the context of private litigation that results in important legal precedent.” (Joshua S., supra, 42 Cal.4th at p. 956.)
*1027Here, the Court of Appeal majority misapprehended the nature of the Joshua S. holding. The majority proceeded on the assumption that Joshua S. “established the applicable criteria here for determining under section 1021.5 whether the litigation ‘has resulted in the enforcement of an important right affecting the public interest’ ” (italics omitted), the first of the statutory factors. However, in Joshua S. we did not explicate or apply the usual section 1021.5 criteria. The first two factors were unquestionably met. The prior litigation establishing the validity of second parent adoptions involved an important legal issue and “yield[ed] a substantial and widespread public benefit.” (Joshua S., supra, 42 Cal.4th at p. 952.) While the third factor was in dispute, particularly as to whether the plaintiff’s personal interest in vindicating her parental rights disqualified her from recovering her attorney fees, we did not resolve that issue in Joshua S.10 Instead, as described above, we recognized an exception to be applied in cases where all three factors are satisfied, but the party from whom fees are sought “is not the type of party on whom private attorney general fees were intended to be imposed.” (Joshua S., at p. 953.)
Thus, Joshua S. has no bearing on whether an action qualifies as one that “has resulted in the enforcement of an important right affecting the public interest,” except insofar as it exemplifies a conceded point. (§ 1021.5.) Nor does the analysis of the Court of Appeal majority below suffice to bring this case within the Joshua S. exception. The majority agreed with the trial court’s view that the dispute between plaintiffs and Coast was a “private business disagreement,” which “did not arise from an attempt to curtail any conduct on the part of Coast that was infringing a statutory or public right.” These characterizations are insupportable, in view of the facts and law set out in the Stefan I opinion.
There was no business relationship between plaintiffs and Coast, which was retained as the deposition reporter by defendant. Plaintiffs had no choice but to get their transcripts from Coast. Coast was a ministerial officer of the court, and its obligations to plaintiffs were determined by statute, not by contract. While the proceedings in the trial court regarding transcript charges might be deemed a minor dispute limited to the circumstances of this litigation, on appeal Coast strenuously defended its institutional interest in controlling the fees charged to a nonnoticing party without judicial oversight. And the trial court determined, on remand after Stefan I, that Coast had indeed violated plaintiffs’ right to receive a transcript for a reasonable charge. Accordingly, this is not a case in which a “private litigant with no institutional interest in the litigation” pursued “only [its] private rights.” (Joshua S., supra, 42 Cal.4th at p. 957.) Rather, we are presented with the usual *1028circumstance where private attorney general fees are sought from a party “at least partly responsible for the policy or practice that gave rise to the litigation.” (Connerly v. State Personnel Bd., supra, 37 Cal.4th at p. 1181; see Joshua S., supra, 42 Cal.4th at p. 957.)11
The Court of Appeal majority also went astray when it determined that Stefan I “was not public interest litigation for purposes of section 1021.5 as explicated by Joshua S.” (some italics omitted), reasoning that Stefan I “did not create new law or extend existing law . . . [but] merely reiterated the state of statutory authority . . . which empowers trial courts to regulate deposition fees. Nor did our opinion pronounce a new principle. Trial courts have long had the inherent power generally to control the conduct of ministerial officers and others connected with judicial proceedings. . . . The trial court in [Stefan 7] misunderstood its power and believed itself constrained by Urban Pacific . . . , supra, 59 Cal.App.4th 688. [Stefan 7] gave guidance by disagreeing with Urban [Pacific] and explicating the court’s power. Therefore, we merely corrected a garden-variety error by a trial court that had mistakenly believed it lacked the authority to limit court reporter fees, with the result that [Stefan 7] did not enforce a fundamental public right or constitutional principle that was being infringed by Coast.”
Joshua S. did not speak to these concerns. There, as noted above, the public importance of the underlying litigation was undisputed. Furthermore, the majority’s interpretation of the Stefan 7 opinion is unduly cramped. The statutes governing depositions were unclear on the expenses chargeable to a nonnoticing party, and silent on the courts’ authority to intervene. Section 2025.510, subdivision (c) offered no guidance on the amount of the “expense” a nonnoticing party may be charged, and section 2025.570, subdivision (a), governing transcript requests by nonparties, referred to “a reasonable charge set by the deposition officer.” The Urban Pacific court, albeit in dicta, had viewed the statutory scheme as permitting deposition officers to charge whatever the market would bear. (Urban Pacific, supra, 59 Cal.App.4th at p. 692.) The trial court’s reluctance to review the reasonableness of Coast’s deposition fees under this state of the law was understandable.
*1029The Stefan I opinion makes it plain that the court was addressing statutory and constitutional rights of considerable public importance. “Depositions play an important role in litigation and trial preparation, and deposition testimony may be offered as evidence in pretrial proceedings and, in some circumstances, at trial.” (Stefan I, supra, 162 Cal.App.4th at p. 1036.) “[Cjonditioning the party’s right to receive a copy of a transcript on payment of an unreasonable fee would undermine rather than promote the administration of justice and could very well result in a denial of due process to the nonnoticing party victimized by the reporter’s conduct.” (Ibid.) These considerations substantially contributed to the court’s conclusion that section 2025.510, subdivision (c) must be construed to include a reasonableness requirement. Similarly, when the court decided that disputes over the reasonableness of a fee should be resolved by the trial court in the pending action, it observed that “[t]o defer the determination to a later, separate proceeding would be impractical and inefficient and would undermine the trial court’s necessary authority under section 128, subdivision (a)(5), as well as imperil the due process rights of the nonnoticing party.” (Stefan I, supra, 162 Cal.App.4th at p. 1039.)
Thus, it is clear that issues of public interest were directly involved in the Stefan I appeal. The court resolved unsettled issues of statutory interpretation relating to the administration of justice, the trial courts’ inherent and statutory authority to supervise their ministerial officers, and the statutory and constitutional rights of nonnoticing parties to obtain deposition transcripts at a reasonable cost. Stefan I established the right of all such parties to bring transcript fee disputes to the trial courts for resolution. Coast argues, correctly, that merely because an appellate opinion is certified for publication does not mean it involves an important right affecting the public interest. The fact that litigation results in significant appellate precedent is only one factor to be considered in that regard. (Joshua S., supra, 42 Cal.4th at p. 958; Los Angeles Police Protective League v. City of Los Angeles (1986) 188 Cal.App.3d 1, 12 [232 Cal.Rptr. 697].) Here, however, the Stefan I opinion by its terms addressed matters of public importance.
Coast also asserts that to qualify as public interest litigation, a case must meet the criteria of section 1021.5 in the trial court as well as on appeal. On this point, Coast is wrong. It is well established that an appellate decision may provide the basis for a fee award even when the trial court ruling does not.12 (Laurel Heights Improvement Assn. v. Regents of University of California (1988) 47 Cal.3d 376, 427 [253 Cal.Rptr. 426, 764 P.2d 278]; County of San Diego v. Lamb (1998) 63 Cal.App.4th 845, 852 [73 Cal.Rptr.2d *1030912]; Mounger v. Gates (1987) 193 Cal.App.3d 1248, 1258, fn. 10 [239 Cal.Rptr. 18].) Here, the Court of Appeal majority erred by concluding that Stefan I did not resolve an important issue affecting the public interest.
DISPOSITION
Because neither the Court of Appeal nor the trial court considered whether plaintiffs satisfied the other elements required for a fee award under section 1021.5, we reverse and remand with directions to the Court of Appeal to instruct the trial court to determine anew whether plaintiffs are entitled to recover private attorney general fees.
Cantil-Sakauye, C. J., Baxter, J., Werdegar, J., Chin, J., and Liu, J., concurred.

 Further statutory references are to the Code of Civil Procedure.


 The fee for expediting delivery was $261.56, in addition to $373.65 for a certified copy, $14 for exhibits, $10 to e-mail an ASCII version, and $40 for “Shipping/Administration.” The record does not disclose the amount charged to defendant, the noticing party. A declaration by the president of Coast states that the page rate for expedited certified copies “is less than one-half the cost of the original transcript page rate which is charged to the party who noticed the deposition.”


 The Stefan I court noted that references to deposition reporters in its opinion were based on the assumption that the reporter was also acting as deposition officer. (Stefan I, supra, 162 Cal.App.4th at p. 1033, fn. 8.) We adopt the same usage here.


 Section 128, subdivision (a)(5) provides that every court has the power “[t]o control in furtherance of justice, the conduct of its ministerial officers, and of all other persons in any manner connected with a judicial proceeding before it, in every matter pertaining thereto.” In Walker v. Superior Court, supra, 53 Cal.3d at page 267, we noted that while section 128 sets out some of the courts’ inherent powers, those powers are derived from the California Constitution (art. VI, § 1) “and are not confined by or dependent on statute.”


 Section 2025.570, subdivision (a) provides, in relevant part: _“[A] copy of the transcript of the deposition testimony . . . shall be made available by the deposition officer to any person requesting a copy, on payment of a reasonable charge set by the deposition officer.”


 Former section 2025.5 took effect in 1998, the year following the Urban Pacific decision. (See Stats. 1997, ch. 395, § 2, pp. 2680-2681.)


 Section 1021.5 provides, in relevant part: “Upon motion, a court may award attorneys’ fees to a successful party against one or more opposing parties in any action which has resulted in the enforcement of an important right affecting the public interest if: (a) a significant benefit, whether pecuniary or nonpecuniary, has been conferred on the general public or a large class of persons, (b) the necessity and financial burden of private enforcement, or of enforcement by one public entity against another public entity, are such as to make the award appropriate, and (c) such fees should not in the interest of justice be paid out of the recovery, if any.”


 In a “second parent” adoption, the child is adopted by the partner of the legal parent, without terminating the parental rights and responsibilities of the legal parent. (Sharon S. v. Superior Court (2003) 31 Cal.4th 417, 422, fn. 2 [2 Cal.Rptr.3d 699, 73 P.3d 554].)


 “As this court has elaborated with respect to th[e] third requirement (. . . sometimes referred to as the necessity and financial burden requirement): ‘ “An award on the ‘private attorney general’ theory is appropriate when the cost of the claimant’s legal victory transcends his personal interest, that is, when the necessity for pursuing the lawsuit placed a burden on the plaintiff ‘out of proportion to his individual stake in the matter.’ [Citation.]” ’ (Woodland Hills, supra, 23 Cal.3d at p. 941.)” (Joshua S., supra, 42 Cal.4th at p. 952.)


 We decided the “personal interest” question in Conservatorship of Whitley, supra, 50 Cal.4th 1206.


 Coast’s status as a ministerial officer of the court, and the absence of an arm’s-length business relationship between Coast and plaintiffs’ counsel, are central to our conclusion that this case does not fit the Joshua S. scenario, where a party seeks to vindicate only private rights and does nothing to affect the public interest other than litigating a case that results in an important appellate precedent. We do not suggest, however, that the existence of a private business relationship necessarily places a party within the scope of the Joshua S. exception. While most private attorney general fee cases involve public or quasi-public agencies whose actions have impaired the public interest (see Joshua S., supra, 42 Cal.4th at p. 955, fn. 3), private business practices that damage important public rights may also justify a fee award under section 1021.5 (see, e.g., Hewlett v. Squaw Valley Ski Corp. (1997) 54 Cal.App.4th 499, 543-545 [63 Cal.Rptr.2d 118]; Beasley v. Wells Fargo Bank (1991) 235 Cal.App.3d 1407, 1417-1418 [1 Cal.Rptr.2d 459]).


 That may be the case here, but we do not reach the question. Our review is limited to the scope of the Joshua S. exception, and the correctness of the Court of Appeal’s holding that the appeal in Stefan I did not satisfy the first element of section 1021.5. We note, however, that *1030the trial court has discretion to restrict a section 1021.5 fee award to an amount reflecting only those efforts by counsel involving issues of public importance. (Conservatorship of Whitley, supra, 50 Cal.4th at p. 1226.)

